                       Case 1:22-cv-00163-BLW Document 2 Filed 04/13/22 Page 1 of 1

AO 440 (Rev. 06/12) Summons in a Civil Action


                                      UNITED STATES DISTRICT COURT
                                                                    for the
                                                            District
                                                    __________       of Idaho
                                                               District  of __________

  GILTNER LOGISTICS, INC., an Idaho corporation                       )
                                                                      )
                                                                      )
                                                                      )
                            Plaintiff(s)                              )
                                                                      )
                                v.                                            Civil Action No. 1:22-cv-00163
                                                                      )
  TRAMAT, LLC., a Texas limited liability company,                    )
                                                                      )
                                                                      )
                                                                      )
                           Defendant(s)                               )

                                                    SUMMONS IN A CIVIL ACTION

To: (Defendant’s name and address) TRAMAT, LLC.
                                           c/o A+ Agents of Process, Inc.
                                           Donald G. Hendricksen
                                           4240 Bott Lane
                                           Meridian, Idaho 83642



          A lawsuit has been filed against you.

         Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff’s attorney,
whose name and address are:




       If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.



                                                                                 CLERK OF COURT


Date:     4/13/22
                                                                                           Signature of Clerk or Deputy Clerk
                                                                                                      Annie Williams
                                                                                                  on Apr 13, 2022 1:16 pm
